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IN THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF COLUMBIA
UNITED STATES
23CR239-CKK

HEATHER MORGAN. REDACTED

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HEATHER MORGAN’S SENTENCING MEMORANDUM

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Heather Morgan, through counsel, hereby respectfully submits her Sentencing
Memorandum. We respectfully submit that a sentence of time served in this case will comport

with 18 U.S.C. § 3553’s requirement of a “sufficient, but not greater than necessary” sentence.

INTRODUCTION

Heather Morgan acknowledges that she committed a serious offense. She is deeply
remorseful and makes no excuses for her conduct. Ms. Morgan understands that it is this Court’s
responsibility to impose a just sentence. We respectfully submit that a sentence of time served is
appropriate under the unique facts and circumstances of this case.

In determining the sentence, we ask this Court to take into consideration the fact that Ms.
Morgan did not plan or seek out the offense in this case. She learned about the hack of Bitfinex
more than three years after it occurred, and “was in some ways thrust into the middle of a serious
criminal scheme without her initial consent, and undoubtedly felt compelled to support it out of a
sense of loyalty to her husband and desire to preserve their life together.” ECF 143—Gov’t Sent.
Mem., at 18. She played a minor role in the offense. Still, her conduct in this case was out of
step with the way she has lived her life before and since the offense—a life that has been
characterized by hard work, overcoming challenges, and helping others.

Ms. Morgan’s offense ended close to three years ago. Since then, she has dealt with
significant consequences resulting from her offense, including the complete destruction of her
reputation. Nevertheless, the decisions she has made in this case reflect her true character. Ms.

Morgan promptly accepted responsibility for her criminal conduct, foregoing a preliminary

hearing and indictment in this case, 000000 @ OOOO @@.@,
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Soe Ms. Morgan was initially subject to difficult conditions of pretrial incarceration.

Since her release, she has complied fully with the restrictive terms of pretrial release for nearly

33 months, [eee eOe eee eee eee ee ee ewe we
LOCC Ms. Morgan has also been productive, maintaining employment

during her pretrial release. Ms. Morgan has also matured and has worked to better herself.
Under the unique circumstances of this case, a further term of incarceration would be greater
than necessary to achieve the goals of sentencing. There is no need for specific deterrence in this
case and, at this point, sending Ms. Morgan to prison would work a net detriment to all of the
other goals of sentencing.

Ms. Morgan has proven herself worthy of a second chance, and we respectfully ask this

Court to give her that chance by imposing a sentence of time served.

LEGAL FRAMEWORK

Federal sentencing is governed by 18 U.S.C. § 3553(a), which requires the sentencing
court to consider a multitude of factors in determining the appropriate sentence, including but not
limited to the defendant’s background and characteristics, the need for deterrence, and the need
for rehabilitation. In considering these factors, section 3553(a) directs the sentencing court to
“impose a sentence sufficient but not greater than necessary” to comply with the purposes of
sentencing as set forth in the Sentencing Reform Act (emphasis added).

The federal sentencing guidelines are purely advisory, and a district court may not
presume a sentence within the guidelines to be reasonable. Gall v. United States, 552 U.S. 38, 50

(2007); see also United States v. Terrell, 696 F.3d 1257, 1261 (D.C. Cir. 2012) (“A sentencing
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judge cannot simply presume that a Guidelines sentence is the correct sentence.”) (internal
quotations omitted). Instead, the Court must consider all Section 3553(a) factors.

The applicable law for individual sentencing factors are discussed in greater detail below.

BACKGROUND

A. Ms. Morgan’s Childhood.

Ms. Morgan was born in LeCeCCCCS Presentence Report (“PSR”) {| 91.
She is the only child of LOCOCO Ex. A-Letter of eee. at 1. Throughout

Ms. Morgan's childhood, her father worked as a biologist for the federal government. Ex.
B-Letter of ee at 1. Because of this job, during the early years of Ms. Morgan’s life,
the family lived in remote and often impoverished areas of Oregon and California. Ex. A, at 1;
Ex. C-Letter of LOCOCO at 1.

When Ms. Morgan was four years old, the family settled in LOCOCO where
SCCCS had grown up, and LCCC. Ex. A, at 1. At the time,
LCCC CCECCECECES with few children. As a result, Ms. Morgan had very
limited contact with children her own age. Ex. C, at 1. One notable exception to this was family
friend CCS who was six years younger than Heather. CeCe describes in her
letter how, during their childhood, Heather looked after her and supported her growing up,
knowing that her family had less than Ms. Morgan’s. Ex. D—Letter of CeCe at 1.

Because her father was away working and only came home during weekends, PSR 4 91,
and her mother and grandmother worked full time, Ms. Morgan spent most of her time with her
paternal grandfather. Ex. C, at 1. He taught her to read, and instilled an interest in world events
and history by reading the newspaper with Ms. Morgan. Jd. From an early age, Ms. Morgan was

also taught to work hard, and “grew up doing inside and outside chores, some of them to earn
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money.” Ex. A, at 1-2; see also Ex. C, at 1; Ex. E-Letter of LOCC at 1-2. And while
Ms. Morgan “credits [the experience] as part of her strong work ethic,” Ex. A, at 2, the
expectation to constantly be productive and organized could at times be overwhelming. Ex.

F-Report of GO at 3.

Growing up in an isolated environment, Ms. Morgan “created her own world and seemed

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very content in it.” Ex. C, at 1 (noting that Ms. Morgan “always liked to learn”). Hearing about

see experiences in the military, Ms. Morgan developed an interest in foreign languages
and cultures. Ex. B, at 2-3. This would become a life-long interest, and to date, Ms. Morgan has
traveled to 38 countries. From an early age, she became an avid reader and enjoyed learning
independently, as well as working on art projects and other creative endeavors. Ex. A, at 1; Ex.
B, at 2; Ex. C, at 3.

Ms. Morgan showed intellectual promise from a young age. Ex. A, at 1; Ex. C, at 1.
When Ms. Morgan began attending elementary school, she performed well academically, but had
trouble adjusting to the new environment because of her limited experience socializing with
other children. See Ex. B, at 2-3; see also Ex. A, at 2; Ex. C, at 1-2. Ms. Morgan suffered from
a severe speech impediment and was required to attend speech therapy, and this “gave kids
another reason to make fun of her.” Ex. A, at 2; Ex. F, at 4; PSR J 91, 127. In the fourth grade,
Ms. Morgan was subjected to repeated instances of sexual harassment by another student that the
school failed to address, and Ms. Morgan’s parents transferred her to a different elementary
school. Ex. A, at 2; Ex. C, at 1. Still, Ms. Morgan continued to struggle to integrate socially at
the new school. LOCOCO recalls that “[h]er grammar school was very small with under 20

children total in her grade which only magnified any degrading personal comments... This began
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an era of isolation and social awkwardness for Heather which did not change until high school.”
Ex. E, at 2.

As Ms. Morgan entered her middle school years, LOCC.
LOCC and his health began to deteriorate. See, e.g., Ex. C, at 2. Ms. Morgan spent
much of her free time with him, assisting with care until he passed away in 2003. Ex. A, at 2.
This was a difficult loss for Ms. Morgan. Still coping with the loss some years later, Ms. Morgan

created a likeness of LECCE in her art class. Ex. C, at 2. Ex. A, at 2.

In 2004, Ms. Morgan began attending Pleasant Valley High School in Chico, California,
LCCC See Ex. E, at 2. At Pleasant Valley, Ms. Morgan “had
the opportunity to excel . . . She took college track classes in high school and by her sophomore
year began taking some classes at the local college which counted towards her high school
graduation credits.” Ex. B, at 3; see Ex., A at 2. She pursued her interest in foreign languages
and cultures, studying Arabic and Japanese, and participating in an exchange program that took
her to Japan. PSR § 93; Ex. A, at 2; Ex. C, at 2. Ms. Morgan graduated 11th in her high school
class of 429 students. PSR § 124. Throughout school, Ms. Morgan received various awards
including the AP Scholar Award, as well as an Honorable Mention for outstanding writing at the
Tehama County Literary Festival Writing and Illustration Contest. Jd. Upon graduating, Ms.
Morgan earned two scholarships that more than fully covered her college tuition costs. PSR {
124; Ex. A, at 3.

Yet, while she thrived academically, Ms. Morgan continued to struggle socially ee
BESS. 2 close friend of Ms. Morgan’s since middle school, writes: “I sometimes thought I
was ‘too cool’ to actually hang out with her... She would wear crocs and bright colors because

that’s what she liked. She liked to talk but she also talked with a lisp. So some people would
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make fun of her.” Ex. G, at 1. Cece elaborates, writing, “She would often change her
clothes and hair in an attempt to blend in more, even trying fake tans and bleaching her hair
blonde with the help of my mother. Looking back, it's clear that Heather's intelligence and
academic achievements made her stand out, which unfortunately led to her being singled out by

peers.” Ex. D, at 1. CCC who evaluated Ms. Morgan over the course of

approximately six hours, describes how these experiences affected Ms. Morgan, leading to
VORA IOWA,
VORA,
eG, |x. §, 21 5.

Ms. Morgan often bonded with “nerds” and classmates who came from different
countries and cultural backgrounds, and her own experience with social rejection motivated her
to stand up for other students. Ex. B, at 4. CCS writes in her letter that “Heather
demonstrated a compassionate and supportive nature. She would always reach out to those who
felt like outsiders, befriending them and making them feel included... Despite being picked on
herself, Heather would always stand up for her friends.” Ex. D, at 2; see also Ex. G, at 1. She
often confided in her parents about the school’s culture and how it clashed with her own values.
Ex. B, at 4. Ms. Morgan also did not hesitate to step up and help students who were struggling
academically—even those who excluded her socially. “Some of her peers kept her out of study

groups and would only include her if they needed something, but she . . . was still willing to help

when someone needed it.” Ex. G, at 1.
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VORA OILS,
VORA:

B. Ms. Morgan’s College and Early Post-College Years.

In September 2008, Ms. Morgan enrolled in UC Davis. In her time as an undergraduate,
she continued to excel academically, pursuing a double major in international relations and
economics. Ms. Morgan graduated in only three years with a GPA of 3.618. PSR ¥ 128.

In college, Ms. Morgan found community and pursued her extracurricular interests in
foreign languages and cultures. She studied Japanese, joined the Japanese club, and made
friends with many South Korean students. Ex. H—Letter of Cece. at 1. Ms. Morgan also
completed a semester abroad in Turkey and a summer semester abroad in South Korea. PSR {
124.

Ms. Morgan was conscientious about the costs of college, and took steps to ensure that
she did not incur debt. Ex. I-Letter of LOCC at 1. To minimize costs, Ms. Morgan
lived off campus, where housing was cheaper. She also worked several part-time jobs, including
as a liaison to international students and professors, and cleaning house for an elderly couple. See
Ex. B, at 3.

Towards the end of her time at UC Davis, Ms. Morgan was in a relationship with an
international student from Hong Kong. Ex. A, at 3. They had plans to move to Hong Kong, and
Ms. Morgan had already applied for a work Visa. Although the relationship ended prior to the
move, Ms. Morgan nevertheless moved to Hong Kong by herself in August of 2011. Ex. A, at 3;
Ex. G, at 2. There, she worked for the Hong Kong University of Science & Technology

language center until February of 2012. In the fall of 2012, Ms. Morgan enrolled in the American

University of Cairo graduate school to pursue a Masters in economics of international
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development. PSR § 123. Unfortunately, while Ms. Morgan was in Egypt, she developed
pneumonia and severe respiratory problems, and was forced to withdraw from her Master’s
program due to her illness and political unrest in Cairo at the time. PSR ¥ 103; Ex. A, at 3. This
was a difficult decision for Ms. Morgan because she enjoyed her graduate studies, and formed
close bonds with fellow students and expats, including members of the LGBTQ community. Ex.
J-Letter of See at 1 (writing that the LGBTQ community faced repression and human
rights violation, but “Heather opened her home to LGBTQ+ persons to offer them a safe place to
socialize, and more generally she gave them moral support and acceptance.”).
C. Ms. Morgan’s Professional Endeavors LOCOCO

When Ms. Morgan returned to California in early 2013, she moved to the San Francisco
Bay Area, seeking a career in the tech industry. Initially, Ms. Morgan lived with friends while
finding her footing professionally. See Ex. A, at 3; see also Ex. D, at 2;. During this time, Ms.
Morgan briefly worked at a startup called wee See Ex. G, at 3 (recounting how Ms.
Morgan, with no money, job, or housing, was still driven and working hard); see also Ex. I, at 1.

In the spring of 2013, Ms. Morgan left s<Cce and began working for a mobile
gaming startup. See Ex. G, at 3; see also Ex. H, at 1. This job offered Ms. Morgan an
opportunity to develop her networking and marketing skills and to gain experience managing

investor relationships. However, there were also significant problems. As Ms. Morgan

described to [CeCe eee ee ee eee ee ewww
LCCC ECCECECES Ex. F, at 5. The founder of this startup paid her in
part by providing lodging in the apartment where he lived. See Ex. H, at 2; see also Ex. G, at 3.
After Ms. Morgan moved in and began the job, LOCC CECECCCCCEOY
LOCOCO In the end, he also failed to pay her money that she was still owed. see
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Starting in spring of 2013, Ms. Morgan participated in 500 Startups, an exclusive venture
capital tech accelerator. There, Ms. Morgan met Ilya Lichtenstein, whom she and others refer to

as “Dutch.” See Ex. A, at 4. During the same program, she also met an older Brazilian man

named SaaS who had founded a startup called JG 1a.

They married at a courthouse, and Ms.

Morgan did not notify her family and friends. Jd; Ex. F, at 5-6.
Those close to Ms. Morgan were shocked when they learned about the marriage. Many

were deeply concerned about Ms. Morgan’s decision.
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Upon her return to the United States, Ms. Morgan moved to Berkeley, California, staying
with friends until she obtained regular work. See Ex. G, at 3. Those close to Ms. Morgan
noticed the emotional toll that her time in Brazil took on her. CCC writes, “I have
seen Heather come back from difficult situations but in this case she was more defeated than I
had ever seen her before. It was clear that the whole experience took a toll on her and her ability

to trust people.” Ex. G, at 3; see also Ex. B, at 1-2 (“[s]he was traumatized by both Ce

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Despite this difficult experience, Ms. Morgan turned her focus to re-establishing her
career. Ex. D, at 2; Ex. L—Letter of SCCCS at 1. In the fall of 2013, Ms. Morgan began
working as a freelance consultant, helping Silicon Valley startups optimize cold emails.' See Ex.
F, at 6. By the summer of 2014, Ms. Morgan gained significant experience creating and
optimizing cold email campaigns through her freelance consulting work. With the
encouragement of Mr. Lichtenstein, she decided to form her own business. She started SalesFolk
LLC in June of 2014. See Ex. A, at 4; see also Ex. B, at 3; PSR J 132. PESSS writes that
“SalesFolk was born out of Heather's unwavering determination and work ethic. She dedicated
herself wholeheartedly to her company, always putting her clients first. I observed firsthand how
Heather never took a day off and was always available to support her clients, even at odd hours.”
Ex. D, at 2. LOCOCO writes: “I remember Heather working very hard to ramp up her
business. When I would go to San Francisco to meet up with her for lunch or dinner, she would
often be working on something when I got there and go right back to working on something
when she came back home.” Ex. G, at 4; see Ex. K-Letter of seen at 1 (“I would often
find Heather at the weekend working, as she built up her business from the ground up.”); see
also Ex. M-Letter of Cee. at 1. Ms. Morgan’s business gave her a sense of purpose, and
helped her to move in a positive direction.

Clients were drawn to Ms. Morgan’s creativity and commitment to their business’s
success. zeae. a medical device and technology entrepreneur who was a SalesFolk client

describes Ms. Morgan as “a smart and thoughtful collaborator [with] an innate ability to connect

! Businesses send cold emails to prospective customers in order to generate new revenue.

Cold email campaigns are a sequence of emails designed to reach a highly specific audience of
buyers.

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with our customers by discussing and describing their psychology and emotions... ” Ex.
N-Letter of eee at 1. CECE who hired Ms. Morgan to help with growth
marketing and business development describes Ms. Morgan as having been “instrumental in
assisting me with my startup, providing innovative ideas and solutions that have significantly
impacted our progress . . . For instance, she developed a unique referral points system for my
startup, which greatly increased our client base and was a testament to her creativity and
commitment.” Ex. O—Letter of Lee? at 1; see also Ex. M at 1 (“As a businesswoman,
she was intelligent, focused, driven, organized, and creative, as well as scientifically minded.”).
In addition to building a team of dozens of copywriters, Ms. Morgan developed a cold
email sales and marketing course that helped hundreds of businesses and sold over 5000 licenses,
as well as popular educational content for salespeople. She published articles on cold email
marketing, enterprise sales, entrepreneurship, and related subjects.2 Ms. Morgan also spoke at
conferences and helped train companies throughout the world. See Ex. B, at 3; Ex. Hat 2. All
of these efforts contributed to her reputation as a “well-known expert in cold outreach email
campaigns, [where] many of the fastest-growing startups were using her services to personalize

emails to customers.” Ex. N, at 1; see also Ex. P—Letter of SOCCS. at 1; Ex. B, at 3.

2 See, e.g., Heather R. Morgan, The Most Persuasive Sales Emails Always Follow These

Strategic Copywriting Tips, Forbes (Nov. 14, 2017, 5:00 am),
https://www.forbes.com/sites/heathermorgan/2017/11/14/the-most-persuasive-sales-emails-alway
s-follow-these-strategic-copywriting-tips/; Heather R. Morgan, 4 Popular Myths That Are
Actually Ruining Your Sales Email Strategy, Forbes (Mar. 13, 2018, 5:00 am),
https://www.forbes.com/sites/heathermorgan/2018/03/13/4-popular-myths-that-are-actually-ruini
ng-your-sales-email-strategy/; Heather R. Morgan, 6 Tips for Sending Better Follow-up Emails,
Inc. (Nov. 22, 2016),
https://Awww.inc.com/heather-r-morgan/6-tips-to-help-you-follow-up-with-your-sales-prospects.h
tml; Heather R. Morgan, 7 Things That Influence Every Sales Email Strategy, Inc. (Nov. 8,
2016),
https://www.inc.com/heather-r-morgan/7-things-that-influence-every-sales-email-strategy.html.

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Yet, while SalesFolk experienced significant growth and success with hundreds of
business-to-business customers, Ms. Morgan maintained a modest lifestyle. She paid herself
about $4,000 dollars a month, re-investing the rest of the revenue back into her company. Se
soe notes Ms. Morgan was “someone who was not sitting on millions of dollars, but rather a
bootstrapped entrepreneur working hard to make her business succeed.” Ex. N, at 1. He recalls
“visiting her apartment with a few other colleagues; it was modest and reflected the typical
lifestyle of a hardworking startup entrepreneur. Heather lived frugally and creatively found ways
to keep costs low during the conference for her and her team.” J/d.; see also Ex. K, at 2
(“throughout our decade long friendship I never recall Heather wanting to go to fancy shops or
needing to live a certain lifestyle.”).

Ms. Morgan’s family and friends noticed the strong sense of purpose and direction that
SalesFolk gave Ms. Morgan. eee. a friend who frequently spent time with Ms. Morgan
during this period, recalls that she was “highly motivated, finally putting her energy towards her
own benefit, rather than working for someone else.” Ex. L, at 1. “Day-to-day, she seemed to be
working non-stop for her clients, or training new hires... Even though her field was marketing,
she learned to adapt quickly in male-dominated spaces.” Ex. M, at 1; see also Ex. D, at 2. As
she worked to achieve her own goals, she consistently helped others do so as well. wee
writes that “Heather's generosity extended beyond our business. She was known for assisting
other startups in securing investors and offering her expertise freely. This selfless attitude was a
testament to her character and her genuine care for others.” Ex. N, at 1; see also Ex. H, at 1
(discussing the ways Ms. Morgan helped her in her job search, and noting that “Heather has

always been a person to help someone no matter what.”); see also Ex. Q—Letter of See

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at 1 (describing how Ms. Morgan helped him after college); Ex. G, at 5-6 (describing Ms.
Morgan assistance in his search for a job).
C. Ms. Morgan’s Relationship with Mr. Lichtenstein.

Ms. Morgan and Mr. Lichtenstein began dating in 2014. As they spent more time
together, traveling to Asia together in February 2014, their relationship grew closer. By this
time, Mr. Lichtenstein had shown genuine concern for Ms. Morgan’s well-being during her time
in Brazil, remained emotionally supportive during the aftermath of that experience, and also
encouraged and helped Ms. Morgan professionally. Jy writes that “Ilya always
believed in Heather early on, in both her talents and potential, in ways very few others have.”
Ex. A, at 4; see also Ex. G, at 4.

In the fall of 2014, Ms. Morgan and Mr. Lichtenstein moved in together in San Francisco.
They began to share living expenses, and as their personal relationship developed, Ms. Morgan
and Mr. Lichtenstein began supporting each other’s professional endeavors. Mr. Lichtenstein
advised Ms. Morgan on aspects of SalesFolk, including ideas for business development and
software products, as well as advice on hiring, accounting, and other HR matters. See, e.g., Ex.
A, at 4; PSR § 132. Later, Ms. Morgan would also advise and assist Mr. Lichtenstein with his
businesses. See, e.g., PSR ¥ 131 (noting that Mr. Lichtenstein asked Ms. Morgan to be the CEO
of one of his companies in 2019); Ex. M, at 2. Over time, Ms. Morgan and Mr. Lichtenstein
increasingly shared finances as well. See Ex. A, at 5.

In 2016, following a bitter disagreement between Mr. Lichtenstein and the co-founder of
his startup MixRank, Mr. Lichtenstein left the company. Jd. This was a painful decision, given
that he had invested over five years into establishing and building the company. The company

had received investment from the likes of Mark Cuban, the prestigious tech accelerator

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Y-Combinator, and was also on the Inc 5000 list for America’s fastest growing companies in

2017.2 This experience took a mental and emotional toll on Mr. Lichtenstein. Ex. A, at 5. He

began to isolate himself and to spend a lot of time at his computer. Jd. LOCCCECCSH

ESS OOOO |x. 4, 21 4-5. Nearly four

years later, Ms. Morgan learned that it was also during this period that Mr. Lichtenstein carried
out the Bitfinex hack. See ECF 100—Statement of Offense.

In 2017, Mr. Lichtenstein told Ms. Morgan that he needed to get away from Silicon
Valley, which he felt was toxic, and proposed to move to New York. Ms. Morgan, herself feeling
exhausted by Silicon Valley culture and concerned for Mr. Lichtenstein’s mental health, agreed
to move. Ex. F, at 6. Unfortunately, this did not resolve the stressful circumstances the couple
faced. In 2011, eee eee eee ewe. |x. Ftd.
Then, in 2018, Ms. Morgan faced a series of personal and professional challenges that
contributed to an overwhelming sense of “burnout.” Jd; Ex. B, at 3; Ex. M, at 2. In that year,
SSSI O We, |x. F219; Ex.B, at
3. Ms. Morgan was also experiencing frustrations with her efforts to scale SalesFolk. Ex. L, at
3; see also Ex. B, at 3. These personal stressors were compounded eee. Morgan
herself was dealing with at the time. PSR ¥ 108. Ms. Morgan recounted to see that, during
this period, “[i]t felt like everything was collapsing.” Ex. F, at 9.

Ms. Morgan’s family members grew increasingly concerned about her CeCe

eee, |x. 3... BS

3 https://www.inc.com/profile/mixrank.

Ore OG NNN ND GDL LD DDD LLL

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VOSSOSe °Sk 1) 116, 117, 118; Ex. Lat? eee
SSeS GSS (\1¢211¢1] tells me now that there

were times when she almost left him because she felt so alone, as he grew more and more
withdrawn ... He would often lock himself in their office for hours at a time, sometimes for
most of the day, completely unavailable to her.” Ex. A, at 5.
As she had done throughout her life, Ms. Morgan sought solace in her creative endeavors.
Ex. B, at 3-4. It was during this period that she began writing rap songs and making videos as
the alter ego ““Razzlekhan.” As she described to wee
I wanted to create a persona that embodied awkward confidence and explored societal
issues. The universal truth is that your best self is your real self. Part of the way to do that
was to be absurd and a hyperbole of myself. If you can be the person people can laugh at,
then they will have permission to explore themselves. When you are ridiculous, you give
others permission to try something different, not to be flawless, and to embrace
imperfection. Razzlekhan [alter ego] was an exercise in my own humility.
I used to care about things like Forbes 30 under 30, but reflecting on this made me realize
that I don’t want to be like that. I had to do something stupid to realize it. Being the ironic
version of that meant doing something that was a stupid spectacle. I have always liked
music but never thought I had a good voice, especially with a speech impediment and
people making fun of me for it for my whole life; rapping was a way to conquer it.
Ex. F, at 9-10. See also Ex. D, at 3 (“Razzlekhan became a persona through which Heather could
freely express herself and cope with the stress and pressures she faced.”). Ms. Morgan’s
“intentional adoption of this alter ego as a coping tactic helped Mrs. Morgan manage her anxiety
and find relief from everyday stresses” during a difficult period in her life. Ex. F, at 10. Years
later, however, it would make Ms. Morgan a target for ridicule on social media and in the press.
See Ex. T, infra.

Those who know Ms. Morgan well have made clear that Razzlekhan is a caricature,

wholly distinct from the Heather Morgan they know. PESSe4 writes that

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I will be candid that I never really understood the Razzlekhan persona that has recently
characterized Heather in the press — it was entirely distinct from my friend Heather. This
is in large part because my understanding all along was that Razzlekhan was an artistic
foil, a meta commentary on art and has absolutely nothing to do with the person I first
met in Yosemite or the good friend I know today. I equate it to the way I presume
professional wrestlers don’t behave the same way at home. Even before the press
coverage, Razzlekhan felt like a kind of fearless art project to probe the world since it
was so distinct from the person I knew. Heather is kind, humble and deeply caring, funny
and playful. The depiction in the press is a world apart from the person I know. She was
also never flashy at all about her possessions as a friend, throughout our decade long
friendship I never recall Heather wanting to go to fancy shops or needing to live a certain
lifestyle. In fact, Heather was often most happy when we ate good chinese food from a
local restaurant or she was getting something at a good discount.

Ex. K, at 2; see also Ex. M, at 2 (“Razzlekhan is a creative alter ego for Heather. The character
allowed her to express parts of herself outside of her identity as an entrepreneur . . . Outside of
playing Razzlekhan, Heather was Heather, another woman who is paving her own way in life.);
Ex. L, at 2 (“I think Razzlekhan is a lot about tech stereotypes, making fun of silicon valley, how
much of an exclusive community it is, and other problems with that culture. As with any art, it is
an exaggeration to get the point across. I believe that Heather is a talented artist, and that when
her case became public, the line between Heather the person and her art got blurred.”); Ex. B, at
3-4 (“She enjoyed unleashing her creativity to create and script [various] characters and then
portraying them. But those characters aren’t eee’): Ex. z at 3 (noting that creating
and playing characters was Ms. Morgan’s “creative outlet to let off steam’); Ex. I, at 1 (noting

that media reports have been an “inaccurate caricature’).

While Ms. Morgan found a creative outlet in Razzlekhan,

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Yet, Ms. Morgan remained committed to Mr. Lichtenstein. CeCe writes that

Despite the strain caused by Dutch's work habits eee. Heather cared deeply
for him. She tried to support him through his challenges, showing compassion and
understanding even when I suggested it might be time to move on from the relationship.
It was evident to me that despite their problems, Heather and Dutch shared a genuine
connection and cared deeply for each other.

Td. FSS explains that “Heather has always been looking for a partner that shared her
interests in life and that she could depend on.” Ex. B, at 2. Even after learning about the hack,
“[s]he did not consider abandoning him since he had not betrayed her the way her prior love
interests had.” Jd; Ex. D, at 2 (“She saw Dutch as her protector during a time of great
vulnerability, which likely influenced her initial perceptions of him despite his unconventional
behavior.”). Over time, Ms. Morgan’s friends and family members gradually saw encouraging
changes in his actions and his attitude. See, e.g., Ex. A, at 4 (“Heather fostered empathy in Ilya,
and he greatly changed since I first met him.”’). see concludes that, in contrast to her prior
marriage, Ms. Morgan was willing to accept significant problems in her relationship because it
was “founded on mutual respect and trust, whereby they also championed each other’s unique
qualities. Their foundation MeCCCCCECCECCECCECCCSE and
reinforced Mrs. Morgan’s unwavering commitment to Mr. Lichtenstein after he had informed her

of his offense conduct.” Ex. F, at 13-14.

Because Ms. Morgan [I 0020°@@@:@.@.@.@.0.@.0.0.0.0.0n
LOCC ECECCECCE PSR ¥ 96. Then, in January of 2019, Ms. Morgan and

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Mr. Lichtenstein were married in a private ceremony. PSR § 95. As discussed in more detail
below, Ms. Morgan learned about the hack of Bitfinex the following year, she made the decision
to risk her own freedom in order to help her husband.

D. The Offense Conduct.

In the beginning of 2020, Mr. Lichtenstein informed Ms. Morgan that he hacked Bitfinex
over three years prior, in 2016. He sought her help in concealing the proceeds of the hack. As
reflected in the Statement of Offense, Ms. Morgan agreed to help her husband conceal the stolen
funds. Statement of Offense, ECF 100. Mr. Lichtenstein instructed Ms. Morgan not to do any
internet research on the hack, and began giving her instructions regarding the steps she needed to
take in order to launder the funds. During the two years that followed, Ms. Morgan acted on his
instructions, taking various steps to launder the proceeds of the hack “with the intent to protect
her husband . . . from being arrested and prosecuted for it.” ECF 143—Gov’t Sent. Mem., at 12.

As the government recognizes, Ms. Morgan “was in some ways thrust into the middle of
a serious criminal scheme without her initial consent, and undoubtedly felt compelled to support
it out of a sense of loyalty to her husband and desire to preserve their life together.” Gov’t Sent.
Mem., at 18. There is no dispute that Ms. Morgan played a minor role in the offense. PSR {[f
60, 75. Ms. Morgan participated in laundering a small fraction of the hack proceeds. As noted
by the government, Ms. Morgan “herself spent a small fraction of the criminal profits.” Gov’t
Sent. Mem., at 17; see also Ex. G, at 4 (noting that he did not observe Mr. Lichtenstein and Ms.
Morgan spending extravagantly when he visited them in New York).

Ms. Morgan clearly recognizes that her conduct was serious, and regardless of the
circumstances, there is no excuse for her involvement in the offense. As she writes in her letter

to the Court,

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I compromised my morals and became part of a serious crime. I love and respect my
husband, but this is no excuse for my actions, which were clearly illegal. I made it more
difficult for law enforcement to detect his crime, preventing Bitfinex from recovering
their rightful assets sooner, and I am deeply sorry for that. I also apologize that our
actions required the government to spend its resources and taxpayer money to uncover
our laundering efforts, which could have otherwise been spent on more valuable things to
society. I recognize that my conduct is worthy of punishment and my decisions have
serious consequences.

Ex. R, at 1.
Since her arrest, Ms. Morgan has reflected on her decision to become involved in the
offense:
In 2020, I learned that my husband Ilya Lichtenstein committed a serious crime in 2016.
When he told me what he had done, I was in complete shock. I made the poor decision to
get involved in Ilya’s crime. Our relationship was far from perfect, but I deeply love and
care about my husband, and the truth is, I did not want him to go to prison because we
were planning to start a family together. He was there for me in so many ways others had
not been in my life, and our relationship was the biggest part of my decision. I also felt
like I was already involved because I had been accepting cryptocurrency from him and
worked on businesses with him for years without knowing where the cryptocurrency

came from. I felt like I was already in the offense whether I liked it or not. This is not an
excuse, but I hope it gives you a sense of my thought process at that time.

Id; see aso Ex. A, 23. eee eee ee wen
TOS GOOG, |x. F215. She explains that BM
TESS OOOO WGA s¢¢ also Ex. B, at 2 (“She isa

loyal person and I believe it was her bond with Ilya that pulled her into the mess that Ilya started
with his cryptocurrency hacking.”); Ex. E, at 5.
E. Ms. Morgan’s Arrest and Post-Arrest Incarceration.
Ms. Morgan was arrested on February 8, 2022. By this time, Ms. Morgan and her

husband had been aware of the government’s investigation for several months, had hired counsel,

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LECCE Ms. Morgan and her counsel understood that the government

was months from making a decision regarding how it would proceed with the case, and believed
that Ms. Morgan and her husband would be permitted to self-surrender in the event of criminal
charges being brought against them. Transcript of February 8, 2022 Detention Hearing in the
Southern District of New York, 1:22-mj-00022-RMM, ECF 29-3, at 19°; Ex. B, at 1. As part of
her counsel’s dialogue with the government, defense counsel informed the government that Ms.
Morgan was set to have surgery eee eee ee eee een
SCCCS and understood the dialogue would continue following Ms. Morgan’s surgery.
1:22-mj-00022-RMM, ECF 29-3, at 19. Instead, just five days after Ms. Morgan’s surgery, the
government arrested Ms. Morgan and her husband without notice. At the time, Ms. Morgan was
still in the process of recovering. Jd. at 18; PSR 499. As her prior counsel wrote to at the time
in response to the government’s appeal of the initial decision to release her, “she has surgical
wounds that are still healing and are at a heightened risk of infection in a custodial environment,
she has limited mobility in her right arm, and she is supposed to have a follow-up appointment
with her surgeon next week to confirm that there are no complications from her recent surgery.
She is currently experiencing pain from those incisions, which makes it all the more vital for her
to have the follow up visit.” 1:22-mj-00022-RMM, Def. Opp’n to Review of Bail Conditions,
ECF 21, at 4-5.

Ms. Morgan was initially held at MDC Brooklyn for a period of three days in solitary
confinement. She was ordered released at the conclusion of her initial detention hearing in the
Southern District of New York on February 8, 2022. The government appealed this decision,

PSR § 19, and Ms. Morgan was subsequently transferred to the Alexandria Detention Center in

° Page numbered referenced are from the ECF-generated header in the filed version of the

document.

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Alexandria, Virginia. On February 14, Judge Howell granted Ms. Morgan pretrial release
pending trial, but required that she post LOCC as a security. PSR § 18. Ms.
Morgan’s attorneys proceeded expeditiously to post the required security, but this took several
weeks. PSR { 20 (noting bond was posted on Feb. 25, 2022). In the meantime, Ms. Morgan
contracted COVID, and was quarantined. This entailed being held in solitary confinement for
the entirety of her incarceration there, where she was moved from booking, to a solitary cell in
the medical unit. Many of the days, Ms. Morgan was not let out to shower or make phone calls.
During this time she also suffered from a severe asthma attack when pepper spray penetrated the
door of Ms. Morgan’s cell, and the guards were unable to locate her prescribed inhaler. After
putting Ms. Morgan on a nebulizer machine, medical staff told Ms. Morgan that her oxygen
levels were still too low and had to give her another round of treatment. Cece writes,
“due to bureaucratic issues caused by differences between jurisdictions and complications from
the pandemic, it took over 3 weeks for Heather to be released.” Ex. A, at 6. POS recalls
that, after her release, Ms. Morgan was “emaciated; still in pain from the pre-arrest surgery; had
failed to receive adequate post operative care; and was still getting over COVID that she
contracted while in custody.” Ex. B, at 1. Ex. A, at 6 (“she was so under-weight the doctor told
me to feed her peanut butter in addition to everything else to put weight back on.”’).

Since her release from pretrial custody, Ms. Morgan will have spent 33 months on home
incarceration with location monitoring by the time of sentencing, along with other significant
restrictions on her freedom.

As we discuss next, many more consequences have followed in the nearly three years

since Ms. Morgan’s arrest.

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F. The Consequences of Ms. Morgan’s Offense.

Even prior to Ms. Morgan’s arrest, Ms. Morgan’s involvement in this offense was a
significant cause of distress for her. As the government acknowledges, “it appears highly
unlikely that the defendant would have sought out or otherwise become involved in criminal
activity had it not been for her husband’s actions.” Gov’t Sent. Mem., at 18. LCCC
relates that “[a]fter the plea, she shared with me how she’d felt trapped once she’d learned Ilya
had hacked the crypto exchange and involved her without her knowing, so she felt she would be

implicated, too. She told me that before the arrest, she had felt paranoid, afraid and unsure what

to do.” Ex. A, at3. eee eee eee eee ee we

Then, in 2022, the charges in this case led to a firestorm of media coverage. Ms.

Morgan’s PeSSSSSSSa ites how reporters descended on

and “went door to door questioning my neighbors.” Ex. C, at 3; see also Ex. A, at 6-7

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(describing how the press set up outside of Ms. Morgan’s apartment and came up to knock on the
door). Although Ms. Morgan did not participate in the Bitfinex hack, or even know about it until
almost four years after it occurred, much of the media attention has fixated on her. See, e.g., Ex.
T-Samantha Hissong, Accused Bitcoin Mega Crook Made Rap Videos. And Dear God, Are They
Cringey, ROLLING STONE, (Feb. 8, 2022),

https://www.rollingstone.com/culture/culture-news/crypto-laundering-scheme-doj-1296783/, Ex.

U-—Justin Valejo, Alleged bitcoin hacker Heather Morgan was also a wannabe TikTok business
influencer called ‘Razzlekhan’, THE INDEPENDENT, (Feb. 9, 2022, 9:08 pm),
https://www.independent.co.uk/news/world/americas/razzlekhan-heather-morgan-bitcoin-tiktok-

b2011340.html; Ex. V—Justin Rohrlich, Hipster Rapper and Alleged Bitcoin Hacker Remade
Herself in NYC, THE DAILy BEAST (Feb. 9, 2022, 9:07 pm),

https://www.thedailybeast.com/how-hipster-rapper-and-alleged-bitcoin-hacker-heather-rhiannon-

morgan-remade-herself-in-nyc/.

Notably, even after Ms. Morgan’s public guilty plea made clear that she did not hack
Bitfinex and did not know of the hack until years later, news sources have continued to claim
that she was the “Bitfinex hacker.” See, e.g., Ex. W—Tom Mitchelhill, Feds want Bitfinex hacker
‘Razzlekhan’ jailed for 18 months, COINTELEGRAPH,
https://cointelegraph.com/news/feds-ask-18-months-jail-bitfinex-hacker-heather-morgan-razzlek
han; Ex. X—Protos Staff, Bitfinex Hacker Razzlekhan was Job Hunting at Bitcoin 2024, Protos
(July 29, 2024, 6:04 pm) ) (falsely claiming that “In 2016, Heather Morgan, a.k.a ‘Razzlekhan’
hacked Bitfinex and stole over 120,000 bitcoin.”),

https://protos.com/bitfinex-hacker-razzlekhan-was-job-hunting-at-bitcoin-2024/; Ex.

Y—Unknown Author, The hacker of Bitfinex was present at the Bitcoin Conference 2024 in

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Nashville, THE Cryptonomist (July 30, 2024) (falsely claiming that “Heather Morgan, alias
“Razzlekhan”, had stolen 120,000 BTC from Bitfinex in 2016, worth 4.5 billion dollars at
the time of the arrest.””) (emphasis in original),

https://en.cryptonomist.ch/2024/07/30/the-hacker-of-bitfinex-was-present-at-the-bitcoin-confere

nce-2024-in-nashville/

The sensationalized media coverage has also fueled abusive comments on social media
by members of the public. LOCC. who helped Heather manage her social media
accounts, recalls being shocked at what she saw after the news of the arrest:

I looked closer at the comments and saw the most horrendous things. People were

messaging her, saying that they hoped she rots in prison, that she should harm herself,

and all kinds of other horrible things . . . I was worried for her safety as well. The
comments were vicious and violent, and I feared she might be recognized and attacked on
the streets of NYC. It was a deeply distressing time for both Heather and those close to
her.
Ex. D, at 4. Although SBE deleted many of the comments at the time, Heather has
continued to receive these types of messages throughout the pendency of this case. Ex.

Z-—Examples of Abusive Messages Directed at Ms. Morgan. Predictably, these comments and the

media coverage have been a significant source of anguish for Ms. Morgan. JOOS

5 “cc also Ex. M, at 3 (“[T]he media coverage on

her became harsher because of Razzklekhan. The media didn’t see her as a person and
Razzklekhan made it too easy for them to sensationalize. ... from outside looking in, it seemed

like the media tore her apart.”’).
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While she recognizes that she deserves criticism for her criminal conduct, Ms. Morgan
has struggled with the fact that her hard-earned accomplishments have been written off as
illegitimate. Ex. F, at 11; Ex. A, at 4 (“It deeply upset Heather that the business she worked so
hard for was being treated as a fraud after her arrest.”). The media has in many cases presented a
grotesque caricature of Ms. Morgan, starkly at odds with who she really is. See, e.g., Ex.
S—Letter of FBR at 1 (noting that Ms. Morgan is “a very smart, creative, and talented
person as well, which is reflected in her business acumen.”); Ex. K, at 1 (“She was unlike other
people I met in silicon valley who felt the need to share what they are doing, or are overly
focused [on] what accolades they have. Heather was very accomplished, but also was someone I
rarely saw posture.”); Ex. P, at 2 (“I believe Heather to be a person of exceptional talent,
kindness, and integrity.”).

Ms. Morgan has lost multiple employment opportunities as a result of this conviction and

instance, Ms. Morgan was hired as Head of Business Development for a prominent blockchain
and Artificial Intelligence company. The company’s CEO went from publicly celebrating that
Ms. Morgan was one of the best hires he had ever made, to deciding he had to fire her because of
a New York Post article, which erroneously claimed she was the Bitfinex Hacker. Other
employment opportunities were also terminated in a similar fashion, stating fear of bad press or

government retaliation.

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G. Ms. Morgan’s Full Acceptance of Responsibility and Post-Offense Rehabilitation.

As the government has noted in its sentencing memo, Ms. Morgan has accepted full
responsibility very early in this case. Gov’t Sent. Mem., at 18. Ms. Morgan is genuinely
remorseful for her conduct, and has given significant thought to what led to her poor decisions.
See eg., Ex. A, at 7. She is fully aware of the harm her actions have caused, recognizes that she
must work to ensure that she never makes such a mistake in the future, and has thought about
concrete steps to ensure that she never does so. Ex. B, at 2; Ex. A, at 7. Over the course of 32
months since her arrest, Ms. Morgan has demonstrated her ability and commitment to abide by
the law through her full compliance with the stringent conditions of release imposed by the

Court. She has not incurred a single alleged violation—not even a technical one—while on

home confinement and home detention. [COCO OOOO O74
LCCC ECECCECCECS Ms. Morgan also recognizes that she must continue to

work to address the underlying issues that contributed to her poor decision-making in this case.
See Ex. R, at 1. She has been proactive in this goal by continuing to attend therapy on a regular
basis.

Finally, she lives in significant uncertainty regarding her future, she has not seen her
husband in person for nearly three years, and has been subjected to humiliating public attention
and threats. Yet, Ms. Morgan has remained motivated and productive. In the period since her
arrest, Ms. Morgan has continued to work. ECF 143, at 17. She has maintained a loving and
supportive relationship with her husband. Ex. A, at 7; Ex. H, at 2. Remarkably, she has also
been a caring friend and source of support to others. Ex. D, at 1 (describing how Ms. Morgan
encouraged her to apply to SON and helped her find a job once she graduated); Ex. K,

at 2 (“She has stayed positive and supportive of others around her during this period.”); Ex. M,

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at 3 (stating that Ms. Morgan “continued to remain a friend who offers me help because I was

starting my own firm even though she’s dealing with so much.”); see also Ex. H, at 2; Ex. O, at

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DISCUSSION

When considering all of the applicable 3553(a) factors, including Ms. Morgan’s personal
history and character, her lack of any prior criminal history, the circumstances of her
involvement and minor role in the offense, and the significant collateral consequences that have
followed from her offense conduct, we respectfully submit that a sentence of time served is

sufficient under the facts of this case.

I. THE SENTENCING GUIDELINES.

The plea agreement correctly sets forth the sentencing guidelines calculation in this case,

with the exception of the application of the two-level obstruction enhancement pursuant to

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USSG § 3C1.1; PSR {| 64, 76. In the end, although it arrives at the same offense level through
a different route, the parties and the Probation Department agree that the final offense level is 24.
A. The Correct Guideline Calculation.

For the reasons set forth in Ms. Morgan’s objections to the PSR, PSR, at 44-46, and
detailed in the government’s sentencing memorandum, the agreed-to guideline calculation is
correct (prior to accounting for the Zero-Point offender reduction). The calculation set forth in
the plea agreement is the result of extensive negotiations and discussions between the parties,
based on a detailed consideration of the facts. The government’s sentencing memorandum
correctly sets forth the basis for this calculation. Gov’t Sent. Mem., at 9-12.

B. The Obstruction Enhancement Does Not Apply.

In support of the obstruction enhancement, the PSR cites two out-of-circuit cases that are
inapposite. In United States v. Owens, 308 F.3d 791, 794 (7th Cir. 2002), the enhancement was
applied based on the defendant’s fabricated story to law enforcement regarding his innocence—a
story the defendant unsuccessfully maintained through his jury trial. Jd. Similarly, in United
States v. Nobles, the defendant testified falsely at a pretrial suppression hearing. 69 F.3d 172,

191 (7th Cir. 1995).

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C. The Zero-Point Offender Reduction Applies.
LeCCCCCECCECCCCCCCRE Ic offense level is 24. This
differs from the offense level calculated in the Plea Agreement because the Zero-Point Offender
provision was enacted after the entry of the Agreement. The government concurs with this
position. Gov’t Sent. Mem. at 10 (citing United States v. Gary, 291 F.3d 30, 36 (D.C. Cir. 2002);
18 U.S.C. § 3553(a)(4)(A)).

Nevertheless, for the reasons discussed below, a sentence within the guidelines, tS

is an excessive sentence under the unique combination

of factors this case.
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Il. THE SECTION 3553(a) FACTORS.

A. Ms. Morgan’s History and Characteristics Support a Sentence of time
Served.

Ms. Morgan’s history and characteristics overwhelmingly support a downward variance
in this case, and a sentence of time served would be “sufficient, but not greater than necessary”
under Section 3553(a).

History of Hard Work and Consistent Employment. Throughout her life, Ms. Morgan
has worked hard to achieve her goals. The letters submitted to the Court show Ms. Morgan’s
extraordinary level of drive and determination, even in the face of significant challenges and
setbacks. An individual’s education, skills, and history of hard work are factors that are relevant
at sentencing. United States v. Bras, 483 F.3d 103, 113 (D.C. Cir. 2007) (citing with approval
district court’s consideration of the defendant’s education and history of employment, among
other factors); United States v. Tomko, 562 F.3d 558, 570-72 (3rd Cir. 2009) (citing, inter alia,
the defendant’s record of employment in support of sentence of probation); United States v.
Harry, 816 F.3d 1268, 1284 (10th Cir. 2016) (stating that factors such as defendant’s education
and skills supported downward variance).

Strong family ties and community support. Ms. Morgan has a close and loving
relationship with her family. Despite the significant negative media attention this case has
garnered, she also continues to have strong support from members of the community. This
support is not only a reflection on Ms. Morgan’s character, but also gives Ms. Morgan a powerful
incentive to work towards redemption See, e.g., United States v. Autery, 555 F.3d 864, 874 (9th
Cir. 2009) (family support one of several valid grounds for downward variance from 41-51
months to probation); United States v. Martin, 520 F.3d 87, 92 (1st Cir. 2008) (family support

one of three valid reasons for 91-month downward variance); United States v. Cernik, 07-20215,

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2008 WL 2940854, at *6, 10 (E.D. Mich. July 25, 2008) (noting that “defendant has a solid
support structure in his family” in imposing a sentence of probation sentence where guidelines

range was 46-57 months).

Good works and acts of kindness. Throughout her life, Ms. Morgan has shown a
willingness to step up and help others, without expecting anything in return. Even during very
difficult periods in her life, Ms. Morgan has continued to be a source of support and help to the
people in her life, and the community more generally. This is an aspect of Ms. Morgan’s
character that is thoroughly documented in the letters before the Court, and it is a factor that
strongly supports leniency at sentencing.

Under § 3553(a)(1) and § 3661, the Court has broad discretion to take account of such
good works, whether exceptional or non-exceptional, and whether personal or public in nature.
United States v. Thurston, 544 F.3d 22, 25-26 (1st Cir. 2008) (upholding downward variance
from advisory range of 63-78 months to three months of incarceration followed by 24 months of
supervised release, in part based on defendant’s “charitable work, community service, generosity

with time, and spiritual support and assistance to others.”); see also United States v. Serafini, 233

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F.3d 758 (3d Cir. 2000) (upholding a downward departure to an individual who encouraged a
young man to attend college and loaned him money); United States v. Cooper, 394 F.3d 172, 177
(3d Cir. 2005) (upholding a downward departure for defendant’s good works that were personal

in nature).

Genuine remorse and acceptance of responsibility. LOCC

See she was also the driving force behind Mr. Lichtenstein’s decision to cooperate. The
letters written to the Court detail Ms. Morgan’s genuine remorse for her involvement in the
offense, and the fact that she has not sought to make any excuses or to minimize her conduct.

These factors strongly support a downward variance to a sentence of time served in this case.

B. A Sentence of Time Served is Sufficient When Considering Ms. Morgan’s
Role in the Offense, the Need to Avoid Unwarranted Sentencing Disparities,
and the Need for General Deterrence.

Ms. Morgan did not plan or orchestrate the offense. Instead, when confronted with the
choice, she “felt compelled to support it out of a sense of loyalty to her husband and desire to
preserve their life together.’ Gov’t Sent. Mem., at 18. To be sure, this does not excuse her
conduct, and Ms. Morgan recognizes this fact. Nevertheless, imposing a fair sentence requires a
close consideration of the motive for the defendant’s actions. See, e.g., Wisconsin v. Mitchell,
508 U.S. 476, 485 (1993) (“The defendant's motive for committing the offense is one important
factor [in determining the sentence]’).

Indeed, because spouses are often uniquely vulnerable to becoming involved in the
crimes of their partner out of loyalty, they often do not get charged at all. For example, in United

States v. Cooper, 85 F. Supp. 2d 1, 5 (D.D.C. 2000), the defendant pleaded guilty to committing

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robberies and three murders. The defendant’s wife and mother were participants in Cooper’s
crimes. Yet, they were never charged. Bill Miller, Cooper Sentenced to Life For Starbucks
Slayings, WASHINGTON Post (April 25, 2000, 8:00 pm),
https://www.washingtonpost.com/archive/local/2000/04/26/cooper-sentenced-to-life-for-starbuck
s-slayings/35324138-0b31-4dal-a0de-57374cdd0fda/ (“As part of the plea bargain, prosecutors

agreed not to pursue criminal charges against Cooper's wife, Melissa, or his mother, Gwendolyn.
They said his wife had purchased a handgun he used in a robbery and that his mother sometimes
wrote him checks from her own account in exchange for the cash proceeds of his robberies.”’);
see also United States v. Parker, 834 F.2d 408, 412 (4th Cir. 1987) (defendant’s wife, who was
not charged, assisted her husband in a murder and in subsequent efforts to conceal the crime);
United States v. Short, 4 F.3d 475, 478 (7th Cir.1993) (in a conspiracy involving (1) knowing and
unlawful possession of, with the intent to sell, motor vehicles bearing altered Vehicle
Identification Numbers (VINs) and (2) conspiring to remove, obliterate, tamper with, and alter
the VIN, defendant’s wife, who played a minor role by preparing the fraudulent title, registration,
and transfer documents, was not charged); United States v. Miller, 588 F.3d 897, 905 (Sth Cir.
2009) (reflecting that defendant’s wife who was involved in joint criminal activity with her
husband in connection with his medical clinic, was “not charged with any crime); United States
v. Nardozzi, No. 1:18-cr-10017 (D. Mass.) (in a case where a state senator and his accountant
were charged in a bribery scheme, his wife (who was involved in the scheme, according to the
accountant’s sentencing memo) was never charged). We respectfully submit that a sentence of
any additional term of incarceration would create an unwarranted sentencing disparity with the

foregoing cases and countless others where a spouse who plays a minor role is never charged.

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A sentence of time served is necessary here because courts have imposed
non-incarceration sentences in cases where individuals devised and carried out far more serious
crimes, over a significant period of time.

For example, in United States v. Nishad Singh, the defendant admitted to joining a
conspiracy orchestrated by Sam Bankman-Fried to defraud investors in the FTX cryptocurrency
exchange. United States v. Bankman-Fried, et al, 1:22CR673-LAK (S.D.N.Y. 2024). Singh
became Head of Engineering at FTX, and managed approximately 20 employees. ECF 526
(Gov’t Sent Mem. as to Singh). Although Singh did not initially know about the fraud, which
the government described as “one of the largest financial frauds ever,” he knowingly and
willfully contributed to the fraud once it became apparent to him. Jd. at 2-6. Singh stayed
involved in the fraud after learning about it, and “completed the purchase of a home in the San
Juan Islands for approximately $3.7 million, despite knowing that the money being withdrawn
from FTX was necessarily customers’ money.” Jd. at 4. Furthermore, Singh also admitted to
participating in inflating the revenues of FTX and misrepresenting them to clients, as well as a
conspiracy to violate campaign finance violations and money laundering. Jd. at 7. Since faced a

guidelines level of 43 and an advisory sentence of life that was capped at 900 months, driven by

a loss amount of over $10 billion. Jd. at 11. LOCOCO ECCCCCEOYS
LCCC ECCCCCECS On October 30, 2024, Singh was sentenced to time

served. ECF 531 (Judgment as to Singh).
A sentence in excess of time served in this case would create an unwarranted sentencing

disparity with the sentence imposed in Singh. Here, like Singh, Ms. Morgan was not initially

aware of the offense. [eee e eee eee eee ewe,

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Ce But the similarities end there. Unlike Singh, Ms. Morgan did not commit multiple

crimes, and did not live lavishly off of the proceeds of those crimes. Ms. Morgan was motivated

to protect her husband, whereas Singh had no similar motive. LOCOCO
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sentence of time served is certainly appropriate in this case when compared to the facts and
circumstances in Singh’s case.

In United States v. Kagel, the defendant conspired with others to carry out a Ponzi
scheme that continued over the course of nearly five years. 2:24CR24-GMN (D. NV. 2024).
The defendant, acting with co-conspirators, “fraudulently promoted and solicited investments
and obtained at least approximately $15,000,0000 in victim-investor funds for various
cryptocurrency trading programs.” ECF 22 (Kagel Plea Agreement), at 3. Kagel agreed that he
and his co-conspirators were “operating an illegal Ponzi scheme to defraud victim-investors and
take and use the funds for their own personal benefit.” Jd. As part of his role in the offense,
Kagel personally spoke with and made fraudulent representations to multiple investors. Jd. at 3.
Although he faced a guidelines range of 108 to 135 months, which was capped by a statutory
maximum of five years, (ECF 31—Gov’t Sent. Mem. as to Kagel, at 1-2), Kagel was sentenced to
five years probation. ECF 40 (Judgment as to Kagel). Although Kagel’s sentence was driven to a
large extent by his age (86), there are a multitude of over factors not present in Kagel, including
MOCCCCCECCECCCCCOS that even more strongly support a sentence
of time served.

Similarly, in United States v. Arthur Hayes, et al, the defendant was the CEO and 30%

owner of Bitmex, “one of the largest cryptocurrency derivatives platforms in the world.”

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1:24CR500-JGK, ECF 334 (Gov’t Sent. Mem. as to Hayes), at 1. According to the government,
Hayes
designed [Bitmex] to operate in violation of the Bank Secrecy Act (“BSA”), the U.S. law
designed to prevent money laundering and to assist the tracking of proceeds of criminal
activity. Hayes profited greatly from BitMEX, personally earning over one hundred
million dollars, while willfully and continuously operating the Company in violation of
the BSA, by failing to implement an anti-money laundering (“AML”) program. ... The
defendant prominently advertised BitMEX’s lack of KYC and AML, through its website,
blogposts that he authored, and in the media. The lack of KYC and AML drew precisely
the bad actors which the BSA intends to deter, but when the defendant learned about
suspicious transactions on BitMEX’s platform, he caused the Company to fail to file
suspicious activity reports (“SARs”) with the Department of Treasury.
Id. According to the government, Hayes knew, inter alia, that (1) Bitmex was a tool for criminal
activity, and (2) repeatedly lied about Bitmex’s operations. Jd. at 4,6. The government sought a
sentence greater then 12 months, but Hayes was sentenced to two years probation with home
detention and electronic monitoring. ECF 344 (Judgment as to Hayes). His co-founders, Ben
Delo and Sam Reed, who also participated in the offense, were sentenced to 30 months probation
and 18 months probation, respectively. ECF 360 (Judgment as to Delo); ECF 383 (Judgment as
to Reed). Ms. Morgan’s conduct stands in stark contrast to that of these executives, who
engaged in a scheme in which they knowingly and intentionally evaded US law and allowed
their company to be used as a platform for money laundering, all while earning massive profits,
over a period of five years.

A sentence greater than time served would also create an unwarranted sentencing
disparity with sentences imposed for far more serious conduct. See Gall, 552 U.S. at 55
(recognizing that unwarranted sentencing disparities include unwarranted sentencing similarities
between defendants with different backgrounds and degrees of culpability). For example, in

United States v. Zhong, the defendant stole more than 50,000 Bitcoin. United States v. Zhong,

1:22CR606-PGG (S.D.N.Y. 2023). He faced a stipulated sentencing range of 27-33 months in

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prison. ECF 32 (Gov't Sent Mem. as to Zhong). The government recommended a sentence of
24 months. Jd. The court imposed a sentence of a year and a day of imprisonment. ECF 35
(Zhong Judgment). At its height, the value of the stolen Bitcoin was $3.4B. ECF 32 (Gov't Sent
Mem. as to Zhong), at 20. Unlike Ms. Morgan, Zhong himself planned and perpetrated the theft
of the Bitcoin, which he stole from the Silk Road, a dark web black market that he had used to
purchase drugs. Jd. at 23. Also unlike Ms. Morgan, Zhong “dissipated approximately $16

million of crime proceeds, spending lavishly on real estate investments, luxury products, travel,

hotels, nightclubs, and other expenses Jd. at 2. LCCC CCECCCE

SOC And unlike Mr. Zhong, Ms. Morgan did not devise and carry out the scheme to
commit the actual fraud. For all of these reasons, if a sentence of 12 months and a day is
sufficient for Zhong, a significantly more lenient sentence is appropriate for Ms. Morgan.

Finally, the Court should also consider United States v. Changpeng Zhao.
2:23cr179-RAJ. Zhao was the CEO of Binance, the world’s largest cryptocurrency exchange.
ECF 78 (Gov’t Sent. Mem. as to Zhao), at 1. According to the government’s sentencing
memorandum as to Zhao,

Zhao chose not to register the company with U.S. regulators; he chose not to

comply with fundamental U.S. anti-money-laundering (AML) requirements; he
chose not to implement and maintain an effective know-your-customer (KYC)

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system, which prevented effective transaction monitoring and allowed suspicious
and criminal users to transact through Binance; and even when Binance employees
detected suspicious transactions, Zhao’s choices meant those transactions were not
reported to U.S. authorities. And when it became clear that Binance had a critical
mass of lucrative U.S. customers, Zhao directed Binance employees in a
sophisticated scheme to disguise their customers’ locations in an effort to deceive
regulators about Binance’s client base. Critically, Zhao knew that his decision not
to implement an effective AML program would result in Binance facilitating
transactions between U.S. users and users in Iran and other sanctioned countries
and regions in violation of U.S. law.

Id. at 2.

Zhao took responsibility for his offense, and personally paid $50 million in restitution,
which the government noted represented “a small fraction of his wealth,” in addition to $4.3
billion dollars his company paid. Gov’t Sent. Mem. as to Zhao, at 16-17. Zhao pleaded guilty to
one count of willful failure to maintain an effective AML program, in violation of 31 U.S.C. §§
5318(h), 5322(b), 5322(e), and 31 C.F.R. § 1022.210(a). The government sought a sentence of
36 months, but Zhao was ultimately sentenced to four months. ECF 90 (Zhao Judgment).
Unlike Ms. Morgan, Mr. Zhao carefully planned, directed, and executed a strategy to violate the
law with respect to billions of dollars in transactions. He was not driven by loyalty to a spouse
or family member—instead, his actions were motivated by profit. Given these differences, a
sentence greater than time served in this case would work as an injustice and create an
unwarranted sentencing disparity.

A fortiori, if the sentences in the foregoing cases also show that a sentence of time served
in this case comports with the need to achieve general deterrence, particularly when factoring in
the nature of Ms. Morgan’s pretrial confinement, her lengthy period of release on restrictive
conditions, and the significant collateral consequences of the offense.

C. A Sentence Greater Than Time Served is Unnecessary for Specific
Deterrence.

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Ms. Morgan poses an exceedingly low risk of recidivism. Prior to the instant offense, she

had no criminal history. [CeCe Ce See eee ee een
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Morgan’s “recidivism risk is low,” citing Ms. Morgan’s early acceptance of responsibility and
other aspects of her history and characteristics. Gov’t Sent. Mem., at 18. Therefore, a sentence
of imprisonment is not necessary to achieve specific deterrence.

D. A Time Served Sentence is Sufficient to Achieve Just Punishment.

Ms. Morgan has been subject to significant consequences for her involvement in the
offense. First, the nature and conditions of Ms. Morgan’s pretrial incarceration in this case
constitute substantial punishment. Ms. Morgan had just had surgery and was recovering at the
time of her arrest, and spent three weeks in pretrial custody in what amounts to solitary
confinement without adequate medical care. She was exposed to pepper spray and later
contracted COVID while in Alexandria Detention Center. All of this had a significant impact on
Ms. Morgan’s health, and exposed her to psychological anguish as well. It is important to
account for the punitive nature of Ms. Morgan’s pretrial confinement, which is a valid sentencing
consideration under § 3553(a). See, e.g., United States v. Pressley, 345 F.3d 1205, 1219 (11th
Cir. 2003) (remanding to district court with instruction to determine whether to depart on the
ground of harshness of pretrial confinement).

Further, Ms. Morgan has been subject to restrictive conditions of pretrial confinement for
nearly three years, and she will continue to be subject to conditions while on supervised release.

The sentencing court in Gall, whose decision was extensively quoted and upheld by the Supreme

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Court, recognized that a probationary sentence is “substantial restriction of freedom.”” Gall, 552
U.S. at 44. The district court in Gall explained that Mr. Gall’s freedom would be severely limited
in a number of ways and would be backed up by harsh consequences in the event of a violation
of the conditions imposed. Jd.; United States v. Knights, 534 U.S. 112, 119 (2001) (“Inherent in
the very nature of probation is that probationers ‘do not enjoy the absolute liberty to which every
citizen is entitled.’” (quoting Griffin v. Wisconsin, 483 U.S. 868, 874, (1987)); see also United
States v. Romualdi, 101 F.3d 971(3d Cir.1996) (“it may be proper to depart because of the ...
home detention [a defendant] had already served.”); United States v. Edwards, 595 F.3d 1004
(9th Cir. 2010) (where defendant convicted of bankruptcy fraud and on probation for prior state
conviction for fraud and where guidelines range 27-33 months, sentence of probation seven
months of which was to be served under house arrest, and $5,000 fine, and restitution of
$100,000 not abuse of discretion in part because proper for judge to consider that “by the time of
the 2008 re-sentencing, the offenses had been committed nine years previously and ...[he]
completed without incident three and one half years of probation.’’).

Finally, the collateral consequences of Ms. Morgan’s arrest, prosecution and conviction in
this case have been nothing short of devastating. The widespread media attention sets her case
apart from the majority of cases in the criminal system. Courts have recognized the punitive
effect of public opprobrium and reputational harm that results from a conviction. United States
v. Butina, 1:18-cr-00218, ECF No. 120, at 37-38 (D.D.C. Apr. 26, 2019) (taking into
consideration that defendant “suffered greatly because of the national attention that this case has
received”); see also United States v. Stewart, 590 F.3d 93, 141-42 (2d Cir. 2009) (finding that
“Tijt is difficult to see how a court can properly calibrate a ‘just punishment’ if it does not

consider the collateral effects of a particular sentence.”) (quoting with approval the district

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court’s observation that “the need for further deterrence and protection of the public is lessened
because the conviction itself already visits substantial punishment of the defendant.”); United
States. v. Smith, 683 F.2d 1236, 1240 (9th Cir. 1982) (“The stigma of a felony conviction is
permanent and pervasive.”).

This case represents the extreme version of that. Ms. Morgan has been subject to
ceaseless pretrial publicity, much of it inaccurate. She will forever be associated with her worst
decision. We respectfully ask this Court to account for this unique aspect of her case in

determining the appropriate sentence.

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Il. RESTITUTION AND FORFEITURE.

For the reasons presented in the government’s sentencing memorandum, this Court
should order that the assets seized from Mr. Lichtenstein and Ms. Morgan be applied as in-kind
restitution to Bitfinex. Gov’t Sent. Mem, at 19-24. The Court should also order the entry of the
agreed forfeiture judgment. Jd. at 24-27. Finally, the Court should not impose a fine in this case

given Ms. Morgan’s financial condition, her acceptance of responsibility, and other factors.

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CONCLUSION

For all of the foregoing reasons, a sentence of time served is appropriate in this case.

Respectfully submitted,
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CERTIFICATE OF SERVICE

I hereby certify that I served this document upon counsel for the government by email
and filed it through the ECF system.

/s/ Eugene V. Gorokhov
Counsel for Ms. Morgan

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